                     IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

MISSOURI ASSOCIATION OF                          )
SCHOOL LIBRARBIANS, et al.,                      )
                                                 )
                            Plaintiff(s),        )
v.                                               ) Case No. 23-00536-CV-W-FJG
                                                 )
JEAN PETERS BAKER, et al.,                       )
                                                 )
                            Defendant(s).        )


                                            ORDER
1.    The proposed discovery and scheduling plan pursuant to Local Rule 16.1(d) shall be
      filed on or before September 14, 2023.
      a.      All known discovery issues and concerns should be presented in the joint
              discovery plan along with a date for the close of discovery and anticipated
              length of trial.
      b.      The proposed discovery and scheduling plan shall comply with Local Rules
              16.1(d), 16.1(f), 26.1(c) and 26.1(d).
      c.      The proposed discovery and scheduling plan shall state whether the case will
              be tried to the Court or to a jury and the anticipated length of trial. See Local
              Rule 16.1(f)(5).
      d.      In accordance with Local Rule 16.1(d), plaintiff=s counsel shall take the lead
              in preparing the proposed discovery plan and scheduling order. In cases
              where plaintiff is pro se, opposing counsel will take the lead in setting up the
              conference and filing their proposed scheduling order.


2.    On or before August 31, 2023, the parties shall conduct their conference pursuant
      to Fed. R. Civ. P. 26(f) and Local Rule 26.1(a).1
      a.      Counsel are reminded that Fed. R. Civ. P. 26(a)(1) disclosures must be
              completed within fourteen (14) days after the Rule 26(f) conference. See
              Fed. R. Civ. P. 26(a)(1)(C).
      b.      During the Rule 26(f) conference, the parties shall discuss the nature and
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        The parties shall note that the deadlines in paragraphs 1 and 2 do not conform
with those in Federal Rule of Civil Procedure 26(a)(1) and Local Rule 16.1. Both rules
expressly permit the Court to make these modifications. In all other respects, Federal
Rule of Civil Procedure 26(a) and Local Rule 16.1 remain in effect.



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              bases of their claims and defenses and shall discuss the possibilities for a
              prompt settlement of the case.
      c.      Discovery may not commence before the Rule 26(f) conference is held except
              under the conditions set forth in Fed. R. Civ. P. 26(d).
3.    With regard to any discoverable electronically stored information (ESI) the parties
      may have, the Court further requests that the joint discovery plan also include any
      issues and concerns related to the following:
      a.      What ESI is available and where it resides;
      b.      Ease/difficulty and cost of producing information;
      c.      Schedule and format of production;
      d.      Preservation of information; and
      e.      Agreements about privilege or work-product protection.
      If the parties believe that a teleconference with the Court is necessary regarding the
      above information, the parties should contact my chambers at
      Christy_Anderson@mow.uscourts.gov to set up a teleconference. For further
      information regarding discovery of ESI, the Court refers the parties to the Manual for
      Complex Litigation, Fourth '' 11.446, 40.25.
4.    When discovery commences in this case:
      a.      The number and form of interrogatories and the number of depositions are
              governed by Fed. R. Civ. P. 30(a)(2)(A) and 33(a).
      b.      The time permitted for depositions is governed by Fed. R. Civ. P. 30(d)(1).
              The parties should note that any proposed deposition lasting longer than
              seven hours requires prior approval by the Court.
      c.      The procedure for resolving discovery disputes is governed by Local Rule
              37.1. Counsel shall not file any discovery motions until a teleconference has
              been held with the Court.
      d.      The form of answers to certain discovery requests and the disclosures
              required by Fed. R. Civ. P. 26 are provided in Local Rule 26.2.
      e.      The filing of motions does not postpone discovery. See Local Rule 26.1(b).
      f.      Extensions of scheduling deadlines are governed by Local Rule 16.3.
              Counsel may not agree informally amongst themselves to extend the
              deadlines established by the Scheduling and Trial Order, and instead must
              file a motion with the Court.


Dated: July 31, 2023                                   /s/ Fernando J. Gaitan, Jr.
Kansas City, Missouri                                  Fernando J. Gaitan, Jr.
                                                       United States District Judge




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